                    Case 1:25-mj-07214-JCB                  Document 1        Filed 05/01/25          Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       District of
                                                   __________      Massachusetts
                                                                District of __________

                  United States of America                          )
                             v.                                     )
                      Brandon Bendall
                                                                    )      Case No.
                                                                    )                 25-MJ-7214-JCB
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              1.15.25 and 5.12.21 - 1.14.25      in the county of              Plymouth            in the
                       District of          Massachusetts       , the defendant(s) violated:

            Code Section                                                      Offense Description
18 U.S.C. § 2252A(a)(5)(B)                       Possession of child pornography
18 U.S.C. § 2252A(a)(2)                          Reciept of child pornography




         This criminal complaint is based on these facts:
See attached Affidavit of FBI Special Agent Katelin J. Ehrhardt.




         ✔ Continued on the attached sheet.
         u


                                                                                               Complainant’s signature

                                                                                    Katelin J. Ehrhardt, FBI Special Agent
                                                                                                Printed name and title

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Date:             05/01/2025
                                                                                                  Judge’s signature

City and state:                   Boston, Massachusetts                          Hon. Judith G. Dein, U.S. Magistrate Judge
                                                                                                Printed name and title
